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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RAIZA WI LLIAMS

                     Plaintiff                    CIVIL ACTION

      V.                                          No: 19:5354

KUTZTOWN UNIVERSITY
                                                  JURY DEMAND
                   Defendant


                                 AMENDED COMPLAINT

I.     INTRODUCTION

       Plaintiff, Raiza Williams, files this claim against Defendant, Kutztown University

(hereinafter referred to as "Defendant University") upon cause of action whereof the

following are a statement:

       1.     This is an action for injunctive relief and damages, on behalf of Plaintiff, a

former employee of Defendant University, who has been harmed by the Defendant

University harassing, discriminatory and retaliatory employment practices.

       2.     This action arises against Defendant University under Title VII of the Civil

Rights Acts of 1964 ("Title VII"), 42 U.S.C. §2000(e), et seq. , as amended by the Civil

Rights Act of 1991 at 42 U.S.C. §1981(a).

II.     JURISDICTION AND VENUE

       3.     The jurisdiction of this Court is invoked pursuant to Title 28 U.S.C. §1331 ,

and Title 42 U.S.C. §2000e-5(f), which provide for original jurisdiction of Plaintiff's claim

arising under the laws of the United States and over actions to secure equitable and

other relief under the appropriate governing statutes.
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       4.     The venue of this Court is invoked pursuant to the dictates of Title 28

U.S.C. §1391(c).

       5.     All conditions precedent to the institution of this suit have been fulfilled.

On September 5, 2019, a Notice of Right to Sue was issued by the Equal Employment

Opportunity Commission ("EEOC"). This action was filed by the Plaintiff within ninety

(90) days of receipt of said notice. The Plaintiff has exhausted all other jurisdictional

prerequisites to the maintenance of this action.

Ill.   PARTIES

       6.     Plaintiff, Raiza Williams, is an individual and citizen of the Commonwealth

of Pennsylvania who resides therein at 1255 Eaton Avenue, Bethlehem, Pennsylvania.

       7.     Defendant, Kutztown University, was and is now an institution of higher

learning duly organized and existing under the laws of the Commonwealth of

Pennsylvania, with an address of 15200 Kutztown Road, Kutztown, Pennsylvania.

       8.     At all times relevant hereto Defendant University was acting through its

agents, servants, and employees, who were authorized and acting within the scope of

their authority, course of employment, and under the direct control of the Defendant

University.

       9.     At all times material herein, the Defendant University has been a "person"

and "employer" as defined under Title VII, and is subject to the provisions of said Act

IV.    STATEMENT OF CLAIMS

       10.    Plaintiff was employed by the Defendant University as a Physical

Technician from on or about September 10, 2001 , until on or about October 24, 2017,
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when she was constructively terminated from her employment as .a result of the

unlawful employment practices complained herein,

       13.    During the course of her employment, Plaintiff performed her job functions

with Defendant University in a dutiful and competent manner.

       14.    At the end of May, 2017, Plaintiff was told by her Manager, John Nadolski,

("Nadolski") Comptroller of Defendant University, that she was "temporarily" being

transferred into the Accounts Payable office. As a result of that move, many of the

Plaintiff's job functions were likewise removed from her.

       15.    Plaintiff registered several complaints with Nadolski that she believed that

the transfer was improper and ill motivated.

       16.    On or about October 4, 2017, Nadolski informed Plaintiff that her position

had been "closed" and that she was going to remain working permanently in the

Accounts Payable office. As such, Plaintiff was effectively demoted from her former

position of employment without reason or explanation.

       17.    At or about that time, Plaintiff also learned that a similarly-situated

employee was promoted to the position of Supervisor. Plaintiff was not offered any

opportunity to apply for this position in that it was not publicly posted.

       18.    Moreover, Plaintiff was substantially more experienced and qualified than

Achey for the said position in that she had 16 years of experience with Defendant

University as compared to Achey's two (2) years of experience, Furthermore, Plaintiff

attained a Bachelor's Degree in May, 2016, while Achey merely had a high school

diploma.
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       19.      In addition, throughout the course of Plaintiff's employment, she was

subjected to various. discriminatory and derogatory remarks regarding her race

(Hispanic) all of which conduct created a hostile and intolerable working environment.

      20.       In connection thereto, Plaintiff was criticized for speaking Spanish in the

office on several occasions by her co-workers, and was subjected to other derogatory

remarks from her colleagues. On one such occasion, a colleague by the name of Greg

Dettor, approached her and asked her if she had a place "back home" because with

Donald Trump, "one never knows."

       21.      On another occasion, Achey made a derogatory comment towards the

Plaintiff to the effect that she could not pronounce a particular Hispanic name due to the

fact that she was "too white."

       22.      Plaintiff registered several complaints with the Defendant's Management,

including Nadolski, regarding her belief that she was being subjected to a systematic

pattern of racial discrimination and with respect to several aspects of her employment ,

including her demotion, non-promotion, and the hostile working environment she was

experiencing.

       23.      Plaintiff also registered a complaint with Defendant's Social Equity Office

regarding the aforesaid acts of discrimination. Notwithstanding the complaints she

registered, Defendant University failed to take any remedial action on her behalf or to

cause the aforesaid acts of discrimination to cease and desist.

       24.      As a result of the aforesaid acts of discrim inatio n against her, Plaintiff was

forced to take a sabbatical from her position of employment on or about May 25, 2018.

Plaintrff was scheduled to return to her position on or about May 19, 2019.
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       25.     As a direct result of being forced to take the aforesaid sabbatical, Plaintiff

lost her medical benefits and was required to exhaust her retirement monies so that her

medical coverage could continue during her leave.

       26.     As a further adverse result of her taking a sabbatical, Plaintiff was

informed that she was no longer able to return to her position of her employment and

was therefore, constructively terminated from her employment.

       27.     Plaintiff believes and therefore avers that she was subjected to racial

discrimination in the terms, conditions, and privileges of her employment, resulting in

her demotion and/or denial of promotion, a hostile working environment, and ultimately

in her constructive discharge, as aforesaid. Plaintiff also believes and avers that she

was subjected to retaliation, ultimately resulting in her constructive termination.

                                           COUNT I
                                           Title VII
                 (Racial Discrimination-Hostile Working Environment)
                              Plaintiff v. Defendant University

       28.     Plaintiff incorporates by reference paragraphs 1 through 27 of her Plaintiff

as though fully set forth herein at length.

       29.     Defendant University has engaged in unlawful practices in violation of Title

VII. The said unlawful practices for which Defendant University is liable to Plaintiff

include, but are not limited to, fostering, and perpetuating a hostile and offensive

working environment. As a direct result of Defendant University's willful and unlawful

actions in violation of Title VII, Plaintiff has suffered emotional distress, humiliation,

embarrassment, loss of self-esteem and has sustained a loss of earnings, plus the

value of the aforementioned benefits, plus loss of future earning power, plus loss of

back pay and front pay and interest due thereon.
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                                           COUNT II
                                            Title VII
                             (Racial Discrimination-Demotion)
                              Plaintiff v. Defendant University

       30.     Plaintiff incorporates by reference paragraphs 1 through 29 of her Plaintiff

as though fully set forth herein at length.

       31.     Defendant University has engaged in unlawful practices in violation of Title

VII. The said unlawful practices for which Defendant University is liable to Plaintiff

include, but are not limited to demoting Plaintiff. As a direct result of Defendant

University's willful and unlawful actions in violation of Title VII, Plaintiff has suffered

emotional distress, humiliation, embarrassment, loss of self-esteem and has sustained

a loss of earnings, plus the value of the aforementioned benefits, plus loss of future

earning power, plus loss of back pay and front pay and interest due thereon.

                                         COUNT Ill
                                          Title VII
                      (Racial Discrimination-Denial of Promotion)
                            Plaintiff v. Defendant University

       32.    Plaintiff incorporates by reference paragraphs 1 through 31 of her Plaintiff

as though fully set forth herein at length.

       33.    Defendant University has engaged in unlawful practices in violation of Title

VII. The said unlawful practices for which Defendant University is liable to Plaintiff

include, but are not limited to denying Plaintiff promotional opportunity. As a direct

result of Defendant University's willful and unlawful actions in violation of Title VII,

Plaintiff has suffered emotional d istress, humiliation , embarrassment, loss of self-

esteem and has sustained a loss of earnings, plus the value of the aforementioned
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benefits, plus loss of future earning power, plus loss of back pay and front pay and

interest due thereon.

                                           COUNT IV
                                            Title VII
                    (Racial Discrimination-Constructive Termination)
                             Plaintiff v . Defendant University

       34.     Plaintiff incorporates by reference paragraphs 1 through 33 of her Plaintiff

as though fully set forth herein at length.

       35.     Defendant University has engaged in unlawful practices in violation of Title

VII. The said unlawful practices for which Defendant University is liable to Plaintiff

include, but are not limited to constructive dismissing Plaintiff from her employment.

As a direct result of Defendant University's willful and unlawful actions in violation of

Title VII, Plaintiff has suffered emotional distress, humiliation, embarrassment, loss of

self-esteem and has sustained a loss of earnings, plus the value of the aforementioned

benefits, plus loss of future earning power, plus loss of back pay and front pay and

interest due thereon.

                                          COUNTV
                                           Title VII
                            (Racial Discrimination-Retaliation)
                             Plaintiff v. Defendant University

       36.     Plaintiff incorporates by reference paragraphs 1 through 35 of her Plaintiff

as though fu lly set forth herein at length .

       37.     Defendant University has engaged in unlawful retaliatory practices in

violation of Title VII . The said unlawful practices for which Defendant University is liable

to Plaintiff include, but are not limited to, subjecting Plaintiff to retaliatory working

conditions after she complained about said harassment, which resulted in her
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constructive dismissal from employment. As a direct result of Defendant University's

willful and unlawful actions in violation of Title VII, Plaintiff has suffered emotional

distress, humiliation, embarrassment, loss of self-esteem and has sustained a loss of

earnings, plus the value of the aforementioned benefits, plus loss of future earning

power, plus loss of back pay and front pay and interest due thereon.

                                    PRAYER FOR RELIEF

       38.     Plaintiff incorporates by reference paragraphs 1 through 37 of her

Complaint as though fully set forth at length herein.

       WHEREFORE, Plaintiff requests this Court to enter judgment in her favor and

against Defendant and order that:

               (a)    Defendant reinstate Plaintiff her former position of employment with

all of her benefits and emoluments of employment lost, because of their unlawful

conduct;

               (b)    Defendant compensate Plaintiff with an award of front pay, if

appropriate;

               (c)    Defendant pay Plaintiffs attorneys fees , costs of suit and other

expenses as allowed by law;

               (d)    Defendant pay Plaintiff, compensatory damages for future

pecuniary losses, pain, suffering, inconvenience, mental anguish, and other non-

pecuniary losses as allowable;

               (e )   Defendant pay P la intiff, pre a nd post judgme nt intere st, cost s of suit

and attorney and expert witness fees as allowed by law;

               (f)    The Court award such other relief as is deemed just and proper.
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                               JURY DEMAND

Plaintiffs demand trial by jury.




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